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                                                                              C(. Ar- a\s           pes /d(D
                             I.INITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA.

                         Plaintiff,
                                                              INDICTMENT
                   V.
                                                              18   U.S.C. $ 1623

 MUSE MOIIAMUD MOIIAMED.

                         Defendant.


       TIM UNITED STATES GRAND JIIRY CHARGES:

                                              COUNT     1.

                             (False Declaration Before Grand Jury)

       On or about October 14, 202I, in the State and District of Minnesota, while

testifying under oath in a proceeding before a Grand Jury of the United States, the

defendant,

                              MUSE MOHAMUD MOHAMED,

did knowingly make a false material declaration, that is, he testified that             "I   got three

absentee ballots from the elections    office. I took   -    I took those ballots to the voters, they

filled them out, they voted, and then I took them back and turned those            - I turned those
absentee ballots back to the election    office." Instead,     as   MOHAMED then and there well

knew, MOHAMED did not take any ballots to the three voters named on the absentee ballot

envelopes, and the three voters did not give their ballots to MOHAMED to return to the

election office,   allin violation of Title   18, United States Code, Section 1623(a).

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                                                                                    tJ.S. DISTRICT COURT ST PAUL
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U.S. v. Muse Mohamud Mohamed


                                         COUNT 2
                           (False Declaration Before Grand Jrrry)

       On or about October 14, 202I, in the State and District of Minnesota, while

testifying under oath in a proceeding before a Grand Jury of the United States, the

defendant,

                           MUSE MOHAMIID MOHAMED,

did knowingly make a false material declaration, that is, he testified that   "I got the absentee

ballot from the elections office and took it to Voter A[;]" and "I remember Voter A was

the one who filled out the absentee ballots   - or the absentee ballot, sealed it up, and then
told me to drop   it off for her."   Instead, as MOHAMED then and there well knew,

MOHAMED did not receive a sealed absentee ballot envelope from Voter A, and Voter A

did not ask MOIIAMED to drop off Voter A's absentee ballot, all in violation of Title 18,

United States Code, Section 1623(a).




                                       A TRIIE BILL



ACTING LINITED STATES ATTORNEY                            FOREPERSON
